     Case 2:13-cr-06070-SAB           ECF No. 28   filed 12/16/13   PageID.59   Page 1 of 3



   MICHAEL C. ORMSBY
 1 United States Attorney
   Eastern District of Washington
 2 ALEXANDER C. EKSTROM
   Assistant United States Attorney
 3 402 E. Yakima Avenue, Suite 210
   Yakima, Washington 98901
 4 (509) 454-4425

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 6
                             IN THE UNITED STATES DISTRICT COURT
 7                             EASTERN DISTRICT OF WASHINGTON

 8
     UNITED STATES OF AMERICA,
 9
                         Plaintiff,                  No: CR-13-6070-WFN
10

11         vs.                                       PLAINTIFF’S NOTICE/INFORMATION
                                                     OF DEFENDANT’S PRIOR CRIMINAL
12                                                   CONVICTIONS APPLICABLE TO THE
     KENNETH ROWELL,                                 INSTANT CASE
13
                         Defendant.
14

15
           Plaintiff, United States of America, by and through Michael C. Ormsby, United
16
     States Attorney for the Eastern District of Washington, and Alexander C. Ekstrom,
17
     Assistant United States Attorney for the Eastern District of Washington, herein
18
     provides notice to the Defendant, Kenneth Rowell, of the Plaintiff’s intention to use
19
     certain prior criminal convictions of the Defendant at time of trial and/or sentencing, if
20
     appropriate, for the purpose of enhancing the Defendant’s sentence.
21                The Plaintiff will use the following convictions of Defendant:
22                07-01-2010 – Unlawful Possession Of A Controlled Substance – Benton
23 County Superior Court Cause Number 09-1-00426-2.

24                Said notice is provided pursuant to Rule 12(d) of the Federal Rules of
25 Criminal Procedure; Rule 404(b) of the Federal Rules of Evidence; and 21 U.S.C.

26 Section 851.

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 1                  The instant notice does not constitute a waiver, either express or implied,
 2 of the Plaintiff’s intention to present other evidence which the Plaintiff may deem
     appropriate.
 3

 4         DATED this 16th day of December, 2013.

 5
                                              MICHAEL C. ORMSBY
 6                                            United States Attorney

 7
                                              s/ Alexander C. Ekstrom
                                              ALEXANDER C. EKSTROM
 8
                                              Assistant United States Attorney

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     Case 2:13-cr-06070-SAB    ECF No. 28     filed 12/16/13   PageID.61     Page 3 of 3




 1        I hereby certify that on December 16, 2013, I electronically filed the foregoing
 2 with the Clerk of the Court using the CM/ECF System which will send notification of

 3 such filing to the following: Rick L. Hoffman

 4

 5
                                          s/ Alexander C. Ekstrom
 6                                        Alexander C. Ekstrom
                                          Assistant United States Attorney
 7                                        United States Attorney’s Office
                                          402 E. Yakima Ave., Suite 210
 8                                        Yakima, WA 98901
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